
Smith, J.
Waiving the question whether the appointment of Mrs. Garretson as administratrix of the estate of her late husband, was a final order which could be reviewed on error, or whether the proceeding in the probate court, was of that adversary character which entitled Dr. Garretson, as the son of the intestate, to prosecute error to reverse the order appointing the wife as administratrix, without a motion to set that order aside, we are of the opinion that there was no error as shown by the record in the action of the probate court, and that the court of common pleas did not err in affirming it.
It sufficiently appears from the bill of exceptions taken, that Julia A. Garretson was the widow of Dr. Jos. Garretson, the intestate. The court therefore had the right and discretion to appoint her as administratrix of his estate, under the provisions of our statute, in preference to an heir-at-law, if it saw proper to do so, unless something was introduced in evidence which showed that it had no such right. It sufficiently appeared, too, we think, that the plaintiff in error, Geo. C. Garretson, was the only child and heir-at-law of the intestate.
The only evidence offered in opposition to the appointment of the widow, was a written agreement made between the husband and wife, some ten years before the death of D. Garretson, by which they agreed to live separate and apart from each other during their lives. And in consideration of $2,500, to be paid by him to her, the receipt of which she acknowledged therein, she agreed to support and maintain herself without any charge upon him, and in no event, at any time, to lay any claim to the property of her husband.
There was no evidence offered to show that this agreement was ever carried out, other than the acknowledgment *338therein that the $2,500 was paid. For all that appears, the parties may have resumed marital relations, and there was nothing whatever to show that this post-nuptial agreement was a fair, reasonable or just one under all the circumstances of the case. To make it valid or binding upon her, the proof adduced should show this. 16 Ohio St. 521, and 27 Ohio St. 50.
Wm. Strunk and if. M. Cist, attorneys for plaintiff in error.
Burch &amp; Johnson, attorneys for defendant in error.
Even if the provision made for her by this settlement was a fair one, under the authority of Spangler v. Dukes, 39 Ohio St. 642, which was a case where the wife had accepted a provision made for her during marriage by her husband in full of all her claims as widow against his estate, including her right to dower,” it would appear that she would be entitled to her year’s support from her husband’s estate, unless the fact that she lived separate from him would bar her of this, which I think is not the law. Being interested to this extent at least, she is not excluded from administering. But it is sufficient for us to say, that on the evidence set out in the bill of exceptions, we see no error in the action of the' probate court, and the common pleas did not err in affirming it.
